                     Case 1:22-cv-01267-BAH Document 4-2 Filed 05/04/22 Page 1 of 8

 AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  for the

                                                  i       District of Columbia           i
                                                                    )
                                                                    )
                    AIR FORCE OFFICER                               )
                                                                    )
                             Plaintiff(s)                           )
                                 v.                                 )       Civil Action No.
                                                                    )
 LLOYD J. AUSTIN, Secretary of Defense; FRANK
                                                                    )
 KENDALL, Secretary of the Air Force; ROBERT I.
MILLER, Surgeon General of the Air Force; RUDOLF                    )
 WILHELM KUEHNE, JR, Commander, : Air Force                         )
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                                                 ____               )
                            Defendant(s)                            )

                                                      SUMMONS IN A CIVIL ACTION

To·. (Dejen dant.s name an d a ddress) Hon. LLOYD J. AUSTIN, Ill in his official capacity as Secretary of Defense
                                       1000 Defense Pentagon
                                       Washington, D.C. 20301-1000




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) -or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                Jeremy H. Gonzalez Ibrahim (PA Bar No: 53019), Of Counsel
                                Poblete Tamargo, LLC
                                510 King Street, Suite 340
                                Alexandria, VA 20036
                                703-566-3037

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
Case 1:22-cv-01267-BAH Document 4-2 Filed 05/04/22 Page 2 of 8
                    Case 1:22-cv-01267-BAH Document 4-2 Filed 05/04/22 Page 3 of 8

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the

                                                 i       District of Columbia           i
                                                                   )
                                                                   )
                   AIR FORCE OFFICER                               )
                                                                   )
                            Plaintiff(s)                           )
                                v.                                 )       Civil Action No.
                                                                   )
 LLOYD J. AUSTIN, Secretary of Defense; FRANK                      )
 KENDALL, Secretary of the Air Force; ROBERT I.
MILLER, Surgeon General of the Air Force; RUDOLF                   )
 WILHELM KUEHNE, JR, Commander, : Air Force                        )
-----��ia�b�iS   .... t.....andacds..Aaencv_____                   )
                          Defendant(s)                             )

                                                     SUMMONS IN A CIVIL ACTION

To·· (Deiiendan1,s name and a ddress) Hon. FRANK KENDALL, Ill, in his official capacity as Secretary of the Air Force
                                      1000 Defense Pentagon
                                      Washington, D.C. 20301-1000




         A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Jeremy H. Gonzalez Ibrahim (PA Bar No: 53019), Of Counsel
                                Poblete Tamargo, LLC
                                510 King Street, Suite 340
                                Alexandria, VA 20036
                                703-566-3037

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                                                                             ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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                      Case 1:22-cv-01267-BAH Document 4-2 Filed 05/04/22 Page 5 of 8

  AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                   for the

                                                   i       District of Columbia           i
                                                                     )
                                                                     )
                     AIR FORCE OFFICER                               )
                                                                     )
                              Plaintiff(s)                           )
                                  v.                                 )       Civil Action No.
                                                                     )
  LLOYD J. AUSTIN, Secretary of Defense; FRANK
  KENDALL, Secretary of the Air Force; ROBERT I.                     )
 MILLER, Surgeon General of the Air Force; RUDOLF                    )
  WILHELM KUEHNE, JR, Commander, : Air Force                         )
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                             Defendant(s)                            )

                                                       SUMMONS IN A CIVIL ACTION

 To·. (Deifi.en dant,s name an d a ddress) LT. GEN. ROBERT I. MILLER, in his official capacity as Surgeon General of the USAF
                                           1000 Defense Pentagon
                                           Washington, D.C. 20301-1000




           A lawsuit has been filed against you.

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 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are:
                                 Jeremy H. Gonzalez Ibrahim (PA Bar No: 53019), Of Counsel
                                 Poblete Tamargo, LLC
                                 510 King Street, Suite 340
                                 Alexandria, VA 20036
                                 703-566-3037

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.


                                                                                  ANGELA D. CAESAR, CLERK OF COURT


 Date:
                                                                                          Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the

                                                 i       District of Columbia           i
                                                                   )
                                                                   )
                   AIR FORCE OFFICER                               )
                                                                   )
                            Plaintiff(s)                           )
                        v.                                         )       Civil Action No.
                                                                   )
 LLOYD J. AUSTIN, Secretary of Defense; FRANK
                                                                   )
 KENDALL, Secretary of the Air Force; ROBERT I.
MILLER, Surgeon General of the Air Force; RUDOLF                   )
 WILHELM KUEHNE, JR, Commander, : Air Force                        )
-----�....    · bt.S.tandar.ds..Aaencv_____                        )
                          Defendant(s)                             )

                                                     SUMMONS IN A CIVIL ACTION

To·. (Deji.en dan1,s name an d a ddress) CMDR RUDOLF WILHELM KUEHNE, JR. in his official capacity as Commander,
                                         US Air Force Flight Standards Agency
                                         1000 Defense Pentagon
                                         Washington, D.C. 20301-1000




         A lawsuit has been filed against you.

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P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are:
                                Jeremy H. Gonzalez Ibrahim (PA Bar No: 53019), Of Counsel
                                Poblete Tamargo, LLC
                                510 King Street, Suite 340
                                Alexandria, VA 20036
                                703-566-3037


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                                                                             ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                        Signature ofClerk or Deputy Clerk
Case 1:22-cv-01267-BAH Document 4-2 Filed 05/04/22 Page 8 of 8
